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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE


EAGLE PHARMACEUTICALS, INC.,

           Plaintiff,                   C.A. No. 24-64-JLH

                                       JURY TRIAL DEMANDED
     v.

APOTEX INC., AND APOTEX CORP,

           Defendants.


EAGLE PHARMACEUTICALS, INC.,

           Plaintiff,                   C.A. No. 24-65-JLH

     v.                                JURY TRIAL DEMANDED

SLAYBACK PHARMA LLC,

           Defendant.


EAGLE PHARMACEUTICALS, INC.,

           Plaintiff,                  C.A. No. 24-66-JLH
     v.                                JURY TRIAL DEMANDED
BAXTER HEALTHCARE
CORPORATION,

           Defendant.



          JOINT MOTION FOR TELECONFERENCE TO RESOLVE
                   PROTECTIVE ORDER DISPUTES
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        Plaintiff Eagle Pharmaceuticals, Inc. (“Eagle”), Defendants Apotex Inc. and Apotex Corp.

(collectively, “Apotex”), Defendant Slayback Pharma LLC (“Slayback”), and Defendant Baxter

Healthcare Corporation (“Baxter”) respectfully move this Court to schedule a teleconference to

address two outstanding disputes regarding the proposed protective order.

        The following attorneys, including at least one Delaware Counsel and at least one Lead

Counsel per party, participated in a verbal meet-and-confer (in person and/or by telephone) on

the following date(s): July 11, 2024

       Delaware Counsel: Philip Rovner (Baxter); Daniel Taylor (Slayback); Cortlan Hitch
        (Apotex); Daniel M. Silver (Eagle).

       Lead Counsel: Noah Leibowitz (Baxter); Christopher Ferenc (Apotex); Robyn Ast-Gmoser
        (Slayback); Wyley Proctor (Eagle’s counsel in the Baxter case); and Marc Zubick and
        Alex Grabowski (Eagle’s counsel in the Apotex and Slayback cases).

        The parties are available for a teleconference on the following dates: August 2, August 6

(in the afternoon), and August 7 (in the morning).




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Dated: July 15, 2024

  MCCARTER & ENGLISH, LLP                   MORRIS JAMES LLP

  /s/ Alexandra M. Joyce                    /s/ Cortlan S. Hitch
  Daniel M. Silver (#4758)                  Kenneth L. Dorsney (#3726)
  Alexandra M. Joyce (#6423)                Cortlan S. Hitch (#6720)
  Maliheh Zare (#7133)                      500 Delaware Avenue, Suite 1500
  405 N. King Street, 8th Floor             Wilmington, DE 19801
  Wilmington, DE 19801                      kdorsney@morrisjames.com
  (302) 984-6300                            chitch@morrisjames.com
  dsilver@mccarter.com
  ajoyce@mccarter.com
  mzare@mccarter.com                        OF COUNSEL:

  Attorneys for Plaintiff Eagle             Deepro R. Mukerjee
  Pharmaceuticals Inc.                      Lance A. Soderstrom
                                            KATTEN MUCHIN ROSENMAN LLP
  OF COUNSEL:                               50 Rockefeller Center
                                            New York, NY 10020-1605
  Wyley S. Proctor                          deepro.mukerjee@katten.com
  MCCARTER & ENGLISH, LLP                   lance.soderstrom@katten.com
  265 Franklin Street
  Boston, MA 02110                          Jitendra Malik
  (617) 449-6529                            Joseph M. Janusz
  wproctor@mccarter.com                     KATTEN MUCHIN ROSENMAN LLP
                                            550 South Tyron Street, Suite 2900
  Attorney for Plaintiff Eagle              Charlotte, NC 28202
  Pharmaceuticals Inc. in C.A. Nos.         jitty.malik@katten.com
  24-66-JLH                                 joe.janusz@katten.com

  Daniel G. Brown                           Christopher B. Ferenc
  Kelly A. Welsh                            KATTEN MUCHIN ROSENMAN LLP
  LATHAM & WATKINS LLP                      1919 Pennsylvania Avenue, NW Suite 800
  555 Eleventh Street, NW, Suite 1000       Washington, DC 20006
  Washington, DC 20004                      Christopher.ferenc@katten.com
  (202) 637-2200




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 Kenneth G. Schuler                                 Rachel L. Schweers
 Marc N. Zubick                                     KATTEN MUCHIN ROSENMAN LLP
 Alex Grabowski                                     525 W. Monroe Street
 LATHAM & WATKINS LLP                               Chicago, IL 60661
 330 North Wabash Avenue, Suite                     rachel.schweers@katten.com
 2800
 Chicago, IL 60611                                  Attorneys for Defendants Apotex Inc. and
 (312) 876-7700                                     Apotex Corp.

Attorneys for Plaintiff Eagle Pharmaceuticals
Inc. in C.A. Nos. 24-64-JLH and 24-65-JLH



POTTER ANDERSON & CORROON                           SMITH KATZENSTEIN & JENKINS
LLP                                                 LLP

/s/ Philip A. Rovner                                /s/ Daniel A. Taylor
Philip A. Rovner (#3215)                            Neal C. Belgam (#2721)
Hercules Plaza                                      Daniel A. Taylor (#6934)
P.O. Box 951                                        1000 West Street, Suite 1501
Wilmington, DE 19899                                Wilmington, DE 19801
provner@potteranderson.com                          Nbelgam@skjlaw.com
                                                    Dtaylor@skjlaw.com
OF COUNSEL:

Martin J. Black                                     Andrew Miller
Judah Bellin                                        Ajay Kayal
DECHERT LLP                                         Connie Huttner
Cira Centre, 2929 Arch Street                       Robyn Ast-Gmoser
Philadelphia, PA 19104                              WINDELS MARX LANE &
Martin.black@dechert.com                            MITTENDORF, LLP
Judah.bellin@deckert.com                            One Giralda Farms
                                                    Madison, NJ 07940
Amanda K. Antons                                    amiller@windelsmarx.com
DECHERT LLP                                         akayal@windelsmarx.com
35 W. Wacker Drive, Suite 3700                      chuttner@windelsmarx.com
Chicago, IL 60601                                   rast-gmoser@windelsmarx.com
Amanda.antons@dechert.com
                                                    Attorneys for Defendant Slayback Pharma
                                                    LLC




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 Noah M. Leibowitz
 DECHERT LLP
 Three Bryant Park
 1095 Avenue of the Americas
 New York, NY 10036
 Noah.leibowitz@dechert.com

 Attorneys for Defendant Baxter Healthcare
 Corporation




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